              Case 3:19-cv-00528-JWD-EWD                        Document 56-1   03/29/22 Page 1 of 22

                                                                                                      EXHIBIT 1
Shawn Cooper

From: Shawn Cooper <coopa1971@att.net>
Sent: Tuesday, September 21, 2021 6:18 PM
To: 'Jessica Vasquez'
Subject: RE; Cooper v. Wilson



I have no problem using Judge Wilder Doomes. She is familiar with what happened at the last mediation. There is no
need to get someone not familiar with the circumstances around this case.


Cooper                                                                                                   ij
From: Jessica Vasquez [mailto:jvasquez@vasquezlawofflce.com]
Sent: Tuesday, September 21, 2021 9:19 AM ,]
To: Shawn Cooper <coopal971@att.net>
Subject: Cooper v. Wilson

I was informed by the clerk for this matter that Judge Gravelles is
requiring us to set a settlement conference with the Magistrate to discuss
settlement once again in an attempt to resolve the matter prior to the new
trial date.


This will be with the same Magistrate. I could potentially ask for a new
Magistrate to resolve the matter. Let me know if this is something you
would be interested in attempting to do or if you prefer to stay with
the same Magistrate.




Jessica M. Vasquez
VASQUEZ LAW OFFICE
AOO Poydras Street
Ste. 900
New Orleans, LA 70130
fc: 504, 571.9582
f: 504, 684.1449
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                                                                                                  EXHIBIT 2 |



            UNITED STATES DISTRICT COURT
            MIDDLE DISTRICT OF LOUISIANA
     SHAWN COOPER CIVIL ACTION

     VERSUS

     TREVOR WJLSON, ET AL. NO. 19-528-JWD-EWD

          This matter came on this day, September 15, 2021, for a status conference by zoom before
   District Judge John W. dcGravclIes. Present were Jessica M. Vasqucz for Plaintiff and Ross
   Michael Molina for Defendants.
           The Defendants have filed a Consent Motion to Continue Trial, stating that the parties are

   actively engaged in settlement discussions and require additional time to complete the required

   discovery. Counsel for Plaintiff intbrmcd the Court that she and her client have been affected by

   Hurricane Ida and are still feeling some effects of the hurricane.


           All counsel agreed to attempt another sclticinenl conference with Magistrate Judge Wilder-

   Doomes. The Court orders the parties to find soinc mutually available dales prior to contacting

  Magistrate Judge Wilder-Doomes' Chambers for another scttlcincnt conference date.


           IT IS ORDERED that the Consent Motion to Continue Trial, (Doc. 26) is GRANTED. The

  3-dayjury trial is reset to begin at 9:00 a.m. on June 13, 2022 in Courtroom 1.


          IT IS FURTHER ORDRED that the pretrial conference set for October 7, 2021 is

  continued and reset for 1:00 p.m. on May 10, 2022 by zoom. The pretrial order shall be filed 30

  days prior to llie prelriai conl'crcncc.


          IT JS FURTHER ORDERED that all deadlines associated with the December 2, 2021 trial

  dale are suspended. Within 14 days of today, counsel shall submit a motion to amend the scheduling

  order that includes new proposed discovery deadlines in accordance with the June 13, 2022 trial

  date.


          Signed in Baton Rouge, Louisiana, on September 16.202 1,

  Cv 36 T: 0:15


ju,y JUDGE JOHN W. dcGRAVELLES
                 UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF LOUISIANA
          Case 3:19-cv-00528-JWD-EWD                   Document 56-1          03/29/22 Page 3 of 22

                                                                                                             EXHIBIT 3
Shawn Cooper

From: Shawn Cooper <coopa1971@att.net>
Sent: Saturday, August 21, 2021 8:49 AM
To: 'Jessica Vasquez"
Subject: RE: Cooper



I reviewed the schedule you sent and the past information you sent on these matters and they are not consistent with
what is being communicated now. I am referring to expert witness deposits and things of that nature. I saw when the
money is due for the orthopedic doctor and the chiropractor. You sent it to me in an email.
Why would I make counteroffers against myself? My claim is fair and legitimate and has supporting documentation.
Again they have no documentation supporting the amount of money they are presenting. You have not addressed that.
The information I sent you in the last email has not been addressed. I don t have to make a counteroffer on an
undocumented amount offer. The offer again was unrealistic. I have proof of damages/ They have not produced
anything disputing that. If I need to wait until the pandemic is over to hold them accountable then that Is what I will do.


As far as negotiations being stopped. They never started when they offer $25,000 on a properly documented claim with
supporting evidence. I recall everything that occurred in that mediation/ so that speaks for itself.
From: Jessica Vasquez [maifto;j'vasquez@vasquezlawoffice.com]
Sent: Saturday, August 21, 2021 8:00 AM
To: Shawn Cooper <coopal971@att.net>
Subject: Re: Cooper

We will begin "trial preparations" in September


The trial schedule could go two ways. The judge could require us to complete trial prep, spend money on expert
deposits to hold trial dates and then continue the trial due to Delta at the eve of trial (the Eastern District has
just announced no jury trials) or we will be hearing shortly about a continuance. Be prepared for both.



If we are required to complete trial prep with no immediate continuance of the trial date, will need to put down
deposits to secure (a relalivety unsecure) trial date for our medical expert witnesses. I've contacted them in the
past so we will need to follow up.



I don't know ifCovid will be resolved by your trial date but some courts are forcing cases to complete trial prep
even though we all know a jury can't be seated and then waiting until the very end to delay the trial date. It's
unfortunate because it's a lot of money for deposits and experts.

I know you fed strongly that you have not been respected but weve never made a counter to them. We just
stopped all negotiations.

t ask thai you consider the current climate we are in. Unless you consent to a bench trial (no jury) it is unknown
when it will be tried. Until the COVID-19 situation changes drastically I don't think you will keep that date. I
honestly have no idea when you will actually get a jury trial. It may not be until this pandemic is over.

Think about il and get back to me. We probably need schedule a call to discuss expert witnesses anyway.




On Fri, Aug 20, 2021, 5:23 PM Shawn Cooper <coopal971^att.net> wrote:

                                                             1
         Case 3:19-cv-00528-JWD-EWD                 Document 56-1          03/29/22 Page 4 of 22EXHIBIT 3-page 2 |

Jessica, they haven't paid attention to my ctaim from the beginning nor will they in the future No one has respect for
me or my claim. Nothing justifies the amount they presented. I have no counteroffer on this matter when unrealistic
numbers are not being presented. I presented real numbers and costs/ so I did my part,




Cooper




From: Jessica Vasquez [maifto:iva5auez@vasauezlawoffice.com]
Sent: Friday, August 20,2021 12:08 PM
To: Shawn Cooper <coopal971@att.net>
Subject: Re: Cooper




Just circling back on this. Let me know what you want to do.




On Wed, Aug 11, 2021 at 4:53 PM Shawn Cooper <coopal971@att.nct> wrote:

t will review the e-mails and documentation of the claim and get back with you. It may take me a couple of
days . I have to go to a funeral. Thanks

Sent via the Samsung Galaxy A12, an AT&T smartphone

Get Outlook for Android




From: Jessica Vasquez <[vasguez@vasauezlawoffice.com>
Sent: Wednesday/ August 11, 2021 4:33:16 PM
To: Shawn Cooper <coopal971(55att.net>
Subject: Re: Cooper




Do you want to consider counter offering? They cannot come up on an offer
if we remain silent. We have yet to counter offer to them but for our
initial offer. I would recommend if you even want to try to get them to
pay close to you what you think you are due you need to extend an
offer.




On Wed, Jul 28, 2021 at 4:20 PM Shawn Cooper <coopal971^aU.net> wrote:

                                                          2
         Case 3:19-cv-00528-JWD-EWD               Document 56-1         03/29/22 Page 5 of 22
                                                                                                     EXHIBIT 3-page 3
 I reject that offer. We don't have to discuss it I have presented evidence to support my damages and it has been
 ignored, I will present my information to the jury with evidence supporting my claim for damages. The insurer has
delayed, stalled, and undermined the process. The court needs to know,




Thanks




Cooper


From: Jessica Vasquez [mailto:ivasauez@vasguezlawoffice.com]
Sent: Wednesday, July 28,2021 2:38 PM
To: Shawn Cooper <coopal971@att.net>
Subject: Fwd: Cooper




FYI. I just received this which they are filing into the record. I am in
Court tomorrow all day but available Friday to discuss should you want
to. As I previously explained with the first offer, an offer of judgment
is legally significant and creates exposure for costs etc should it be
less than the offer or if the trial is not in your favor.




       Forwarded message
From: Molina, Ross M* <Rass,Molinaf%wtlsonelscr.com>
Date: Wed, Jul 28, 2021 at 2:34 PM
Subject: RE: Cooper
To: Jessica Vasquez <jvasquez(%vasquezlawoflicc.com>




Hi Jessica,




I'm attaching an Offer ot'jLidgment in this case. Our last ollcr was $120,000. This new oiTer is $175,000
and rcprcscnls our walk-away nmnber. It vvus CNtrcmely diliicull for nw to get my client to make this
jump However, I HgLircd this woukl he betler than inching up in smull increinents. We are cLilting to the
chusc.




Plciise pass tins along lo yoin' clicnl and let me know his response.




Phunks,
       Case 3:19-cv-00528-JWD-EWD               Document 56-1   03/29/22 Page 6 of 22
                                                                                    EXHIBIT 3-page 4

 Koss M. Molinii
Attorney ut Lii\v
Wilson Elscr Mo.skowitz Edelmnn & Dickcr IJ,P
650 Poyclras Street, Suite 2200
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504.702.1726 (Direct)
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For further information about Wilson/ Eiser, Moskowitz/ Edelman &
Dicker LLP, please see our website at www.wiiyonelser.corn or refer to
any of our offices.


Thank you,




Jessica M. Vasquez


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t: 504, 571.9582

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j Vri8quez@vcisquez1-awo.f:.l!ice . corn
       Case 3:19-cv-00528-JWD-EWD     Document 56-1   03/29/22 Page 7 of 22
                                                                          EXHIBIT 3-page 5




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         Case 3:19-cv-00528-JWD-EWD                   Document 56-1           03/29/22 Page 8 of 22

                                                                                                          I EXHIBIT 4
 Shawn Cooper

 From: Shawn Cooper <coopa1971@att.net>
 Sent: Wednesday, February 03, 2021 11:31 PM
 To: 'Jessica Vasquez'
 Subject: RE; Follow-up LWC and Truck case



 There is nothing improper about requesting a status conference to the court when the lawyer does not communicate. I
 am within my right and was justified by my actions to request a status conference. FYI the law clerk for the Judge told
 me I could make the request, I wifl show the Judge if needed.The judge wants to know the status. Get it filed for trial
 and that resolves that/ so answer my question on the issue. How soon?


 There is a reason to communicate perjury to the court right now. My concerns are that you did not act on informing the
 court on this issue months ago when I first mentioned it. Only when I filed the ex parte motion to the Federal court
 about the perjury did you declare that you would address it. We talked about it several times prior and you brushed it
 off. It was obvious that you had no intention of bringing up perjury charges as Judge Wilder-Doomes described in her
response. You never mentioned it to me and, instead, you encouraged me to take a reduced settlement. You presented
me with an offer of judgment from the defense and encouraged me to settle on an amount that was not even close to
my damages. You made phone calls to those who treated me and who would be my expert witnesses in court to inform
me of what they charge to be expert witnesses if I go to court. You made sure that f was informed of what I would owe if
it went to trial and 1 didn't accept the offer of judgment, However, you did not communicate the defendant's perjury to
the court.


The offer of judgment is an aggressive action by the defense to intimidate me into taking a settlement due to the
consequences if I don't.


Where is our aggressive action on the matter? Where is our perjury communication to the court? It should have been
done already.


You did not argue for me in the settlement conference. They made an offer of $25,000 and you never told the Judge that
the offer was too low and was not even close to the amount for damages presented to them. The court required you to
submit documentation describing the damages, You did not even give me a copy of the required documentation that
you submitted to Judge Wilder-Doomes. I had nothing to refer to during the settlement conference. After I reported the
action to the court, you asked me to make a counteroffer; however, you didn't try to communicate the perjury act to the
court to hold them accountable. In your withdrawal letter, you stated we do not agree on the issues and direction of this
case and, therefore, you wanted to withdraw. We still have differences with this case; however, you do not appear to
want to withdraw as you threatened in the fetter you sent to me last month. Around the same time, you were not
answering my emails or returning my calls.


Along with other things that coufd be mentioned/ yes, I would say these are serious concerns and I am sure others would
have concerns with these events also.


To answer your statement as far as working on the LWC case, you should be handling the perjury issue just as if you
were handling a different case for another client that requires attention. You would not disregard another client's case
to address onty my LWC case.


Now, if you want to resolve my concerns and fulfil) the expectations of the dient and obligations as my attorney/ have
this perjury information communicated immediately to the court.


You have heard the concerns. The perjury charge needs to be communicated to the court within the month. If this will
not be done, then I have the right to communicate these concerns to the proper authorities and 1 will exercise that right.


Cooper
         Case 3:19-cv-00528-JWD-EWD                 Document 56-1          03/29/22 Page 9 of 22EXHIBIT4-page2



From: Jessica Vasquez [mailto:jvasquez@vasquezlawoffice.com]
Sent: Wednesday, February 03, 2021 7:08 PM
To: Shawn Cooper <coopal971@att.net>
Subject: Re: Foltow-up LWC and Truck case


I'm letting you know I'm not filing it this month. There is no reason to do so and you've presented no "concerns"
other than your request. It is not in your best interest to push that case right now as you have indicated you want
to go to trial.

Further, there is a significant amount of research and work to be done on LWC and my focus should be on that
since you've caused (by your improper ex parte communication) a status conference which will inevitably
requires prep on my end. The Judge is going to want to know why it is still pending on the docket and what is
left to do. That is what I'm working on.

Jessica Vasquez




On Wed, Feb 3,2021, 6:56 PM Shawn Cooper <c(H^i.li)7J^/lcitt,nct> wrote:

Jessica, I will stress again for you to present this PERJURY INFORMATION to the court immediately. There are major
concerns with this being delayed. It would be in my best interest to move this forward to have the court take
immediate action on this matter, but it appears you don't want that.




These are two cases like the many other cases you have with other clients, i am sure you address them all with balance
and detail, giving each one the proper attention.




If you are refusing to prepare the infonnation and have this information communicated to the court within the month
then let me know.




Cooper




From: Jessica Vgsquez [mailto:jvasQuez@vasquezlawoffice.cpin]
Sent: Wednesday, February 03, 2021 5:47 PM
To: Shawn Cooper <coopal97l@a_tt.net>
Subject: Re: Follow-up LWC and Truck case
         Case 3:19-cv-00528-JWD-EWD                   Document 56-1           03/29/22 Page 10 of 22
                                                                                                   EXHIBIT 4-page 3


Your trial for the truck case is set for the end of the year. It is on my to do list but not an immediate priority as
I am currently focusing on LWC research. You declined the offer of judgment so there is no reason to push this
motion on your truck case at this time.




I will be sending you more questions when I complete my research. Considering we have a status conference
in LWC next month I consider this case to be the priority. Please send whatever medical records you have
before the status conference date.




Jessica Vasquez




On Wed, Feb 3,202 1, 9:30 AM Shawn Cooper <cooi)iiJ^2.L^MtJ^t> wrote:

Jessica, we are only waiting on the medical record of the shingles diagnosis. I will be double-checking notes to make
sure everything requested is covered. What etse will be needed and how soon after the medical records are obtained
can the motion for trial be made?




Can you explain why this perjury issue (adverse inference) would not be done right now? Judge Wiider-Doornes did
not put a timeline on this; however, i am receiving an "offer of judgment " right now from the defendant. I would like
to move on this sooner rather than later,




There is no urgent deadline but this is on my to-do list




Jessica, I would appreciate it if you would get this particular matter going and submit it to the court. There is no need
to put this off any longer.



Cooper
      Case 3:19-cv-00528-JWD-EWD                        Document 56-1             03/29/22 Page 11 of 22

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                                   UNITED STATES DISTRICT COURT

                                   MIDDLE DISTRICT OF LOUISIANA

SHAWN COOPER CIVIL ACTION NO.

VERSUS 19-528-JWD-EWD
                                                                         1
TREVOR WILSON, ET AL.

                            VIDEO SETTLEMENT CONFERENCE ORDER

         A settlement conference has been set for November 16, 2021 at 1:30 p.m. by video

conference considering the ongoing COVID-19 pandcmic and the general orders of this Court.

    A. LOGISTICAL REOUFREMENTS

    The settlement conference will be limited to two (2) hours. All parties must have access to a

microphone, camera and internet connection to participate in the conference, although a participant

can log into the system from a smartphone after downloading the app. Participant instructions are

iittached.


         The settlement conference will begin with a brief statement by Judge Wilder-Doomes.

Thereafter, the parties will be separated into breakout rooms, and Judge Wilder-Doomes will facilitate

the negotiations between the parties.

        The following is provided to ensure that the necessary parties are available for the conference,

to assist the Court in an objective appraisal and evaluation of the lawsuit, and to facilitate settlement

of this matter in the most efficient manner.




 Jutiyc Wildcr-Doomcs does not generally permit opening statements by the parties during the joint session.
      Case 3:19-cv-00528-JWD-EWD                        Document 56-1            03/29/22 Page 12 of 22
                                                                                                                  EXHIBIT 5a" page 2

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B. PERSONS ATTENDING THE CONFERENCE

          In addition to counsel who will try the case,2 a person with full settlement authority must be

present for each party during the conference. This requirement contemplates the presence of your

client or, if a corporate entity, an authorized representative of your client, who has full and final

settlement authority. The purpose of this requirement is to have representatives present who can settle

the case during the course of the conference without consulting a superior. Any other persons deemed


necessary to negotiate a settlement may also attend. Since the settlement conference will be


conducted by video, there should not be any reason this requirement cannot be fulfilled, however,

any person seeking relief from this requirement must fax a letter to Judge Wilder-Doomes at

least two (2) days prior to the settlement conference after conferring with counsel for all other

parties to determine whether there is any objection. Any request for relief must state the reasons

relief is requested. Relief will be granted onEy for extraordinary circumstances. Counsel of record

will be responsible for timely advising any involved non-party (/.e., insurance company), of the

requirements of this Order.

C. CONFIDENTIAL STATEMENTS

         The parties shall submit confidential settlement position papers by noon 7 days prior to the

conference to the judge's chambers via facsimile transmission to (225) 389-3585. The statement

shall not exceed five pages and must contain the followine:

         (a) Persons Participating: The name and title, if applicable, of the client or authorized
                representative who will be attending the conference with trial counsel.

         (b) Statement of your Case: The position paper should set forth a brief statement of your
                 claim or defense. It should also contain a statement of the liability issues present,



•i This requires the attorney who is designated as the lead attorney, pursuant to Local Civil Rule 1 l(b) to attend the
conference unless pcrmisyion is obtained from the Court for otlicr counsel to attend,
3 If the settlement conference is scheduled less than 7 days from tlie date of this Order, the position papers must be
submitted as soon as possible. If Judge Wilder-Doomes docs not receive position papers timely, the scUlement conference
may be canceled.
     Case 3:19-cv-00528-JWD-EWD                   Document 56-1           03/29/22 Page 13 of 22
                                                                                                      EXHIBIT 5a-pafie 3

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                including a descriplion of the strongest and weakest points of your case, both legal and
                factual.


        (c) Quantum: A brief statement of your position on quantum, including any injuries
               sustained. When applicable, describe any surgeries, current medical status, and any
               other relevant legal or factual issues.


        (d) Summary of settlement neeotiations to date. A listing of demands and countcroffers.

        A concluding section should contain suggestions for a satisfactory resolution of the claim.

Please do not be bound by monetary solutions, but rather consider all possible alternatives to reaching

a satisfactory resolution. Also, please keep in mind that these submissions are confidential, will not

be exchanged, arc not binding, and that posturing is inappropriate and only serves to handicap the

process. Judge Wilder-Doomes serves as a neutral facilitator in this process. Overstating the strength

of your arguments serves no purpose.


D. ATTACHMENTS

        Copies of the following documents may be attached to the confidential settlement position

paper if they exist and counsel believe they arc relevant:

       (a) Major relevant medical reports conceming plaintiff's medical condition (if
               applicable);

       (b) Economic loss reports;

       (c) Non-medical expert reports; or

       (d) Any other documents which counsel believe may be ot benefit to the Court in
               evaluating the case.


E. EXCHANGE OF SETTLEMENT OFFERS

       Settlement conferences are often unproductive unless the parties have exchanged demands

and offers before the conference and made a serious effort to settle the case on their own. Before the


settlement conference the parties arc to negotiate and make a good faith effort to settle the case

without the involvement of the Court-. A specific settlement offer, in writing, must be submitted
      Case 3:19-cv-00528-JWD-EWD                         Document 56-1             03/29/22 Page 14 of 22
                                                                                                        f:XHIBD 5a page 4

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by the plaintiff to the defendant at icast 21 days prior to the settlement conference, with a brief

explanation of the basis for the demand. If unacceptable to the defendant, a specific

counteroffer, in writing, must be submitted by the defendant to the plaintiff at least 14 days

prior to the settlement conference, with a brief explanation of the basis for the counterot'fer.4

The parties shall include a list of the demands and counteroffers in their position papers. If the case

settles prior to the conference, the parties shall immediately notify Judge Wildcr-Doomcs1 chambers.

F> CONFroENTIALITY

         The contents of the statements and all communications made in connection with the settlement

conference are confidential and will not be disclosed to non-parties without the express permission

of the communicating party or order of a court of competent jurisdiction.5 The statements and any

other documents submitted for the settlement conference will be maintained in chambers and will be

destroyed after the conference.

         Failure to timely comply with all requirements of this Order may result in cancellation

of the settlement conference and/or sanctions at the Courts discretion.

         Signed in Baton Rouge, Louisiana, on September 30, 2021.


                                                      '^^ . ^.pUi.r / \f1';;', ' ._.


                                                      ERIN WILDER-DOOMES
                                                      UNITED STATES MAGISTRATE JUDGE




'* If the settlement conference is scheduled to occur in less than 21 days, the parties shall still exchange a demand and
response prior to the conference.
5 As Judge Wilder-Do omcs will explain in the opening session, communications during the contcrcnce are not confidential
as between the parties unless a party specifically requests confidentiality regarding the communication.
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                                                                           EXHIBIT 5b
Shawn Cooper

From: Jessica Vasquez <Jvasquez@vasquezlawoffice.com>
Sent: Tuesday/ October 19, 2021 12:19 PM
To: Shawn Cooper
Subject: Cooper v. Wilson



Shawn-


I am still in the process of catching up with all the cases since the
storm but wanted to let you know that there is a settlement conference set
for the Truck case on 11/16 at 1:30 pm via Zoom before Magistrate Wilder-
Doomes.


Please mark your calendar*




Jessica M. Vasquez
VASQUEZ LAW OFFICE
400 Poydras Street
Ste. 900
New Orleans/ LA 70130
t: 504, 571.9582
f: 504, 684.1449
jvasqi.iezQvasquezlawof'fice. corn
         Case 3:19-cv-00528-JWD-EWD               Document 56-1       03/29/22 Page 16 of 22

                                                                                                 EXHIBIT 5c |
 Shawn Cooper

From: Jessica Vasquez <jvasquez@vasquezlawoffice.com>
Sent: Monday, November 15, 2021 10:01 AM
To: Shawn Cooper
Subject: Fwd: Activity in Case 3:19<v-00528"JWD-EWD Cooper v. Wilson et al Notice to Counsel



1 just received notice that the scheduling conference is canceled. See email below


         Forwarded message
From: <enoticine(rt)j amd.uscourts.nov>
Date: Mon,Nov 15, 2021, 9:59 AM
Subject: Activity in Case 3:19-cv-00528-JWD-EWD Cooper v. Wllson et al Notice to Counsel
To; <Courtmailf7Uamd.uscourts.eov>




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Ihis <* in till bfcimsc tlie niiiil box is mmUcmkd.
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attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
apply to all other users. To avoid later charges, download a copy of each document during this first
viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not
apply.

                                               U.S. District Court

                                          Middle District of Louisiana

Notice of Electronic Filing

The following transaction was entered on 11/15/2021 at 9:58 AM CST and filed on 11/15/2021
Case Name: Cooper v. Wilson et al
Case Number: 3:19-cv"00528-JWD-EWD
Filer:
Document Number: 30(No document attached)


Docket Text:
Notice to Counsel: Due to an unforeseen scheduling conflict, the Settlement Conference set
for 11/16/2021 is CANCELED. The parties shall contact chambers at 225-389-3584 to
reschedule. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated
with this entry.) (BLR)


3:19-cv-00528-JWD-EWD Notice has been electronically mailed to:

Jessica M, Vasquez &nbsp &nbsp ivasquez^vasquezlawofficc.com

Ross Michael Molina &nbsp &nbsp ross.molinafaiwilsonelser.com, iilt.ritzt'nannfffjwilsonelser^com,
mjcheUe.smilh(?/)/wilsonclser.com
       Case 3:19-cv-00528-JWD-EWD         Document 56-1     03/29/22 Page 17 of 22
                                                                                EXHIBIT 5c-page 2


3:19-cv-00528-JWD-EWD Notice has been delivered by other means to:
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                                                                                         EXHIBIT 6
Shawn Cooper

From: Jessica Vasquez <jvasquez@vasquezlawoffice.com>
Sent: Friday, September 17, 2021 11:00 AM
To: Shawn Cooper
Subject: Cooper v. Witson



Because of Hurricane Ida, the 3-day jury trial has been reset to begin at 9:00 a.m. on June 13, 2022
in Courtroom 1.

Thepretrial conference set for October?, 2021 is continued and reset for 1:00 p.m. on May 10,2022
by zoom.

The pretrial order has to be filed 30 days prior to the pretrial conference.

All deadlines associated with the December 2, 2021 trial date are suspended.

Within 14 days of today, counsel shall submit a motion to amend the scheduling order that includes
new proposed discovery deadlines in accordance with the June 13, 2022 trial date.



Please mark your calendar.



Jessica M. Vasquez
VASQUEZ LAW OFFICE
400 Poydras Street
Ste. 900
New Orleans, LA 70130
t: 504, 571.9582
f: 504, 684.1449
} vd^quczPvaHqun^ 1-awof f;.lco . corn
             Case 3:19-cv-00528-JWD-EWD               Document 56-1         03/29/22 Page 19 of 22

    COPY                                                                                                EXHIBIT 7a
ORIGINAL FILED
        MAR 10 2022                 UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA
Deputy Clerk, U.S. District Court
  Middle District of Louisiana
       Baton Rouge, La.

       SHAWN COOPER CIVIL ACTION

       VERSUS

       TREVOR WILSON, ET AL. NO. 19-52S-JWD-EWD



                      PLAINTIFF'S MOTION OF REQUEST FOR COURT RECORD



               NOW INTO COURT comes Plaintiff, Shawn Cooper, who requests copies of the dictated

       notes from a phone call or electronic filing, notice or letter or order from the oltice of Judge John

       W. deOravelles or from the office of Magistrate Judge Erin Wilder-Doomes, or the court, on or

      about September 21, 2021, of Judge John W. deGravellcs requiring the parties to have a second

      settlement conference.


               Whereas the Plaintiff has no record from the court ot'Judge deGravelles' order requiring


      Ihe parties to have a second settlement conference, nor does the Plaintiff have such a record from

      the office of Magistrate Judge Erin WUder-Dooines requiring a second settlement conference, a

      second settlement conference was scheduled for November 16, 2021 at 1:30 p.m. and was later

      rescheduled to December 22, 2021 at 1:30 p.m. Plaintiff is trying to confirm and understand his

      current records.


                                                         Respectfully submitted,



                                                                 ^-^ c^
                                                         SHAWN COOPER^^
                                                        2448 Morningbrook Drive
                                                        Baton Rouge, LA 70816
                                                        Telephone: (504) 495-7391
                                                        Email: coopal971@att.net
                                                        Shown Cooper, Represertting Himself
     Case 3:19-cv-00528-JWD-EWD              Document 56-1        03/29/22 Page 20 of 22
                                                                                       EXHIBIT 7a-page 2




                                CERTIFICATE OF SERVICE


       I hereby certify that on March 10, 2022 the foregoing Notice will be sent to all known

counsel of record via Email as follows:




       Ross.Molina@wilsonelser.com
       Ross M. Molina
       Wilson Elser Moskowitz Edelman & Dicker LLP
       650 Poydras Street, Suite 2200
       New Orleans, LA 70130




       Donald.Cassels@wilsonelser.com
       Donald G. Cassels, III
       Wilson Elser Moskowitz Edelman & Dicker LLP
       650 Poydras Street, Suite 2200
       New Orleans, LA 70130




                                                       •?




                                                     fe^-"

                                               SHAWN COOPER
                                               2448 Morningbrook Drive
                                               Baton Rouge, LA 70816
                                               Telephone: (504) 495-7391
                                               Email: coopal971@att.net
                                               Shown Cooper, Representing Himself
       Case 3:19-cv-00528-JWD-EWD                         Document 56-1              03/29/22 Page 21 of 22
                                                                                                                           EXHIBIT 7b


                                    UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF LOUISIANA

  SHAWN COOPER CIVIL ACTION NO.

  VERSUS 19-528-JWD-EWD

  TREVOR WILSON, ET AL.

                                                        ORDER

           Before the Court is the Motion of Request for Court Record (the "Motion"),' filed by

  Plaintiff Shawn Cooper ("Cooper"), who is representing himself. Plaintiff seeks a copy of the

  order allegedly "requiring the parties to have a second settlement conference, dated "on or about

 September 21,2021"2

           To the extent the Motion seeks a copy of the minutes from the September 15, 2021 status

 conference conducted via Zoom by the district judge with the parties, the Motion shall be granted

 and a copy of the minutes shall be provided to Plaintiff, as a courtesy and in light of his pro se

 status. Further requests for copies of court orders, pleadings, and/or motions shall be made directly

 to the Clerk of Court and will require payment of the applicable fees.4

          Accordingly,

          IT IS ORDERED that the Motion of Request for Court Record5 filed by Plaintiff Shawn

 Cooper is GRANTED, to the extent it seeks a copy of the minutes from the Zoom conference

conducted on Scptciribcr 15, 2021 by the district judge with the parties.6




'R. Doc, 53.
2 R. Doc. 28.
 R. Doc. 28. The settlement conference set for November 16, 2021 was ultimately reset to December 22, 2021 due
to an unforeseen scheduling conflict as shown by the Court's text entry order. R. Docs. 29-31.
4 See the Court's fee schedule, including a fee of 50 cents per page for copies and $11.00 per document for
certifications, at https://vvww.iamd.uscoi)rts.goy/fee-schednle. The bottom of the page explains acceptable forms of
payment. PIaintifT can also sign up for a free PACER account to access the Court's docket. litlps://pacer.uscourts.eov/.
5 R, Doc. 53.
GR. Doc, 28.



Certified Mail Receipt 7018 0360 0001 16156827
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                                                                                          EXHfBIT7b -page 2'




        IT IS FURTHER ORDERED that further requests for copies of court orders, pleadings,

and/or motions shall be made directly to the Clerk of Court and will require payment of the

applicable fees.

       IT IS FURTHER ORDERED that the Clerk of Court shall provide a copy of this Order

to Plaintiff Shawn Cooper via certified mail, return receipt requested, at his address stated in the
                                                                                                           !
Motion, i.e,, 2448 Morningbrook Drive, Baton Rouge, LA 70816.


       Signed in Baton Rouge, Louisiana, on March 15, 2022.



                                              VAA^ /Ardi/^lA 'A\^^.

                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE
